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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

___________________________________________
                                           )
WAEL MUHAMMAD BAZZI                        )
                                           )
                        Plaintiff,         )
                                           )              Civil Action No. 1:19-cv-01940 (TNM)
      v.                                   )
                                           )
ANDREA M. GACKI, et al.                    )
                                           )
                        Defendants.        )
___________________________________________)


                RESPONSE TO NOTICE OF SUPPLEMENTAL AUTHORITY

        Plaintiff Wael Muhammad Bazzi (“Bazzi”) respectfully responds to Defendants’ Notice of

Supplemental Authority, ECF No. 22, which addressed the United States District Court for the

District of Columbia’s memorandum opinion in Fulmen Group v. Office of Foreign Assets Control,

Mem. Op., Civ. No. 18-2949 (RJL), Dkt. No. 26. In Fulmen, the court held that the plaintiff lacked

standing to assert claims under the Fifth Amendment, including procedural due process claims,

because the Fulmen Group was a foreign entity that lacked substantial connections to the United

States. Id. at *10-11. The court in Fulmen acknowledged that the Supreme Court “has recognized

that ‘aliens [that] have come within the territory of the United States and established ‘substantial

connections’ with this country’ may be entitled to some constitutional protections.” Id. However,

it found that Fulmen Group had failed to establish “any connection to the United States, let alone

a substantial one,” a fact admitted to by Fulmen Group in its complaint and in summary judgment

briefing. Id.

        Fulmen also departed from the D.C. Circuit’s instruction in Jifry v. F.A.A., 370 F.3d 1174,

1182 (D.C. Cir. 2004), which “suggested that [the district court] need not decide whether plaintiffs
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are entitled to Fifth Amendment protections when, ‘even assuming that they are, they have

received all the process that they are due.’” Id. at *11 (quoting Jifry, 370 F.3d at 1183). The court

acknowledged that “other district courts [who have relied on that reasoning] have recently declined

to reach the ‘antecedent’ question of whether foreign plaintiffs are entitled to the protections of the

Due Process Clause, instead concluding their constitutional claims fail on the merits and disposing

of the suit on those grounds.” Id. at *11-12. The court noted, however, that it was “skeptical that

our Circuit Court intended to require us to skip the standing inquiry in all cases,” most especially

“where plaintiffs’ allegations foreclose their ability to assert constitutional claims . . .” Id.

(emphasis in original).

       Defendants argue that Fulmen is relevant to this Court’s consideration of the parties’

pending dispositive motions because, according to Defendant, “[a]s in Fulmen, Plaintiff’s

Amended Complaint here is devoid of any factual allegations that could plausibly support a finding

that Plaintiff has substantial connections with the United States.” Defs. Notice of Suppl. Authority,

ECF No. 22. Furthermore, Defendants argue that “[t]he administrative record likewise fails to

demonstrate such substantial connections.” Id.

       Bazzi disputes Fulmen’s relevancy to the parties’ briefings. This is because Fulmen is a

limited repudiation of the D.C. Circuit’s instruction for courts to refrain from deciding whether a

foreign national can assert a Fifth Amendment constitutional right to due process if a court can

decide that, “they have received all the process that they are due.” Jifry, 370 F.3d at 1183.

Significantly, the court’s reasoning in Fulmen came in the context of a pre-deprivation notice,

substantive due process, and takings claim whereas cases that followed the D.C. Circuit’s

instruction challenged only post-deprivation notice. See e.g. Fares v. Smith, 249 F. Supp. 3d 115

(D.D.C. 2017).




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       Additionally, according to the Fulmen court, it would be inappropriate to “skip the standing

inquiry,” “where plaintiffs’ allegations foreclose their ability to assert constitutional claims.”

Fulmen Group, Mem. Op., Civ. No. 18-2949 (RJL), Dkt. No. 26 at *12 (noting, for instance, that

“Fulmen’s complaint alleges just the opposite, stating Fulmen ‘ha[s] no connections to any U.S.

person or U.S. entity’”). Bazzi has not foreclosed his ability to assert a constitutional due process

right under the Fifth Amendment, neither by the allegations leveled in his complaint nor the

arguments advanced in summary judgment briefing. Accordingly, the court’s decision in Fulmen

does not foreclose Bazzi’s Fifth Amendment due process claim.



Dated: April 24, 2020                                         Respectfully submitted,



                                                              /s/ Erich C. Ferrari
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